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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                   )         CASE NO. 09-61855-MGD
                                         )
TODD ANTHONY SHAW,                       )         CHAPTER 7
                                         )
        Debtor.                          )
                                         )

                       TRUSTEE’S MOTION FOR EXTENSION
                       OF TIME TO OBJECT TO DISCHARGE

        COMES NOW, S. Gregory Hays, Chapter 7 Trustee for the above-referenced

Debtor, and files this Motion for Extension of Time to Object to Discharge and requests

that the Court extend the time period within which the Trustee and the Office of the

United States Trustee may file a complaint objecting to discharge in this bankruptcy

case through and until September 30, 2009.

       1.    On January 26, 2009, (the “Petition Date”), Todd Anthony Shaw (“Debtor”)

commenced this bankruptcy proceeding by filing a voluntary petition for relief under

Chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”).

       2.    On January 27, 2009, the Trustee was appointed as Interim Trustee and

will seek to become the permanent Trustee at the conclusion of the Meeting of Creditors

to be held pursuant to section 341(a) of the Bankruptcy Code (“341 Meeting”).

       3.    Trustee has reset the 341 Meeting three times due to the Debtor’s failure

to produce documents and/or failure to appear and may have to schedule 2004

examinations in the course of his investigation.

       4.    Trustee has requested additional financial and tax documents from the

Debtor and will need time to review the documents.




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        5.   Trustee therefore requests that the Court extend the period within which

the Trustee may file a complaint objecting to discharge in this bankruptcy case,

pursuant to 11 U.S.C. § 727, to and including September 30, 2009, in order to conduct

discovery.

        WHEREFORE, Trustee prays for an extension to be granted on behalf of the

Trustee and the Office of the United States Trustee to and including September 30,

2009.

                                  ARNALL GOLDEN GREGORY LLP

                                  By: /s/ Neil C. Gordon
                                             Neil C. Gordon
                                             State Bar No. 302387
                                          171 17th Street NW. Suite 2100
                                          Atlanta, Georgia 30363-1031
                                          (404) 873-8596
                                          Email: neil.gordon@agg.com
                                          Attorneys for Chapter 7 Trustee




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                               CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the following parties with a true and

correct copy of the foregoing Motion for Extension of Time to Object to Discharge by

depositing same in the United States Mail, postage prepaid, addressed to:

Office of the United States Trustee
362 Richard B. Russell Building
75 Spring Street, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 200
3343 Peachtree Road, NE
Atlanta, GA 30326-1420

Richard M. Jones
Law Office of Richard Jones, P.C.
North Center - Suite 309H
4319 Covington Highway
Decatur, GA 30035

        This 2nd day of July, 2009.

                                                /s/Neil C. Gordon
                                                Neil C. Gordon




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